                 Case 20-33449 Document 7 Filed in TXSB on 07/08/20 Page 1 of 2

                                      UNITED STATES BANKRUPTCY COURT
                                        SOUTHERN DISTRICT OF TEXAS



In     Rosalie Conner                                                                                               ENTERED
Re:    Debtor                                            Case No.: 20−33449                                         07/08/2020
                                                         Chapter: 7


                         INITIAL ORDER FOR PROSECUTION OF CHAPTER 7 CASE


        THIS IS A CASE MANAGEMENT ORDER ISSUED UNDER AUTHORITY OF
        BANKRUPTCY CODE § 105(a). FAILURE TO COMPLY WITH THIS ORDER MAY
        RESULT IN DISMISSAL OF THIS CASE, POSSIBLY WITH PREJUDICE TO THE
        DEBTOR FILING ANOTHER BANKRUPTCY CASE. NOTE THAT UNDER AUTHORITY
        OF BANKRUPTCY LOCAL RULE (BLR) 1001(d), THE PROVISIONS OF THIS ORDER
        SUPERCEDE THE BLR TO THE EXTENT THAT THERE MAY BE A CONFLICT. IN ALL
        CASES, IF NO PARTY REQUESTS A HEARING, THE COURT MAY DISMISS A CASE
        WITHOUT AN ACTUAL HEARING AS PROVIDED BY BANKRUPTCY CODE § 102(1).



      1. Payment of the filing fee.

              a. The Debtor shall pay the filing fee with the petition or promptly on the due date provided in an order
                 allowing installment payments.
              b. If the filing fee is not paid with the petition and no motion for installment payment is filed, or if any
                 installment of the filing fee is not paid when due and no extension has been requested, the Clerk shall
                 issue a notice of pending dismissal of the case for failure to pay filing fees. The notice of pending
                 dismissal shall be served on the Debtor, Debtor's' counsel and the chapter 7 trustee.
              c. If the Debtor does not pay the filing fee or request a hearing within 14 days after the notice is served,
                 the case may be dismissed forthwith.


      2. Filing the list of creditors, schedule of assets and liabilities, etc.

              a. The list of creditors (with addresses) must be filed with the petition in the format prescribed by the
                 Clerk unless a motion for extension of time under Rule 1007(a)(4) is filed with the petition.
              b. A motion for extension of time to file the list of creditors or bankruptcy schedules need be served
                 only on the chapter 7 trustee and U.S. Trustee.
              c. If the U.S. Trustee files a motion to dismiss under Bankruptcy Code § 707(a)(3), the motion shall be
                 served on the chapter 7 trustee and the Debtor, and if the Debtor is represented by counsel, on
                 Debtor's counsel.
              d. If the U.S. Trustee files a motion to dismiss under §707(a)(3), the motion need not include BLR 9013
                 language but shall include the following notice:




If the Debtor requests a hearing, the Debtor and counsel must attend the hearing. If no party has requested a hearing
within 14 days after the date that the motion was served, the United States Trustee may file a certificate of
non−compliance and the Court may dismiss this case without actually conducting a hearing.
               Case 20-33449 Document 7 Filed in TXSB on 07/08/20 Page 2 of 2

THE CLERK IS DIRECTED TO ENTER A COPY OF THIS ORDER IN EACH CHAPTER 7 CASE FILED IN
THIS COURT.


Signed and Entered on Docket: 7/8/20




The Clerk shall notice:

Debtor
Debtor's counsel
Chapter 7 Trustee
